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   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
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  11                                        Case No. CV 18-06434 GW (RAO)
  12   JOHN LAKE,
  13                     Plaintiff,         JUDGMENT
  14         v.
  15   DEBBIE ASUNCION, et al.,
  16                     Defendants.
  17

  18         Pursuant to the Court’s Order Accepting Report and Recommendation of
  19   United States Magistrate Judge,
  20         IT IS ORDERED AND ADJUDGED that this action is dismissed without
  21   prejudice.
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  23   DATED: January 11, 2021
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                                         GEORGE H. WU
  25                                     UNITED STATES DISTRICT JUDGE
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